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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY M. REIF
--------------------------------------------------------------------- X
VIRTUS NUTRITION, LLC.                                                 :
                                                                       :
                 Plaintiff,                                            :
                                                                       :
                 v.                                                    :
                                                                            No. 21-cv-00165
                                                                       :
THE UNITED STATES,                                                     :
                                                                       :
                 Defendant.                                            :
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  MOTION OF PLAINTIFF, VIRTUS NUTRITION LLC., IN RESPONSE TO COURT
   ORDER TO SHOW CAUSE WHY THIS ACTION SHOULD NOT BE DISMISSED

                                           INTRODUCTION

        Pursuant to this Court’s Order dated August 30, 2022, ECF 75, plaintiff Virtus Nutrition

hereby shows cause why this action should not be dismissed for lack of prosecution pursuant to

Court of International Trade 41(b)(3). For the reasons set forth below, plaintiff does not oppose

dismissal of this action, but respectfully moves, pursuant to U.S.C.I.T. Rules 7 and 41(a)(2) that

this Court dismiss the case with the stipulation that defendant United States, through its agency

United States Customs and Border Protection (“CBP”), allow exportation of the merchandise

pursuant to the written agreement between plaintiff and CBP dated February 25, 2021. As discussed

herein, this Court has the power to enforce said agreement as a term of its judgment of dismissal.

                                      STATEMENT OF FACTS

        This action challenges CBP’s denial of a protest which Virtus Nutrition filed, challenging

the exclusion of certain imported Malaysian palm fatty acid distillates (“PFAD”) and palm stearin,

under claimed authority of Section 307 of the Tariff Act of 1930, 19 U.S.C. § 1307. This Court has

subject matter jurisdiction pursuant to 28 U.S.C. § 1581(a).
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           On February 8, 2021, the vessel M/S ARGENT GERBERA, containing a cargo of PFADs

and palm stearin from Malaysia, arrived within the boundaries of the Port of San Francisco,

California, with intent to unlade its cargo. By Notice of Detention issued to plaintiff and dated

February 8, 2021, CBP detained the cargo while it was still on board the vessel for investigation of

possible importation of merchandise made with forced labor, in violation of Section 307 of the

Tariff Act of 1930, as amended 19 U.S.C. § 1307. Customs’ Notice of Detention referenced a

Withhold Release Order (“WRO”) issued December 30, 2020,1 in respect of palm oil and products

containing palm oil from Malaysia, produced by Sime Darby Plantation Bhd. Plaintiff’s imported

merchandise was not made by Sime Darby, but rather by Wilmar Sdn. Bhd., a Malaysian producer.

CBP requested that plaintiff prove that the merchandise was not made with Sime Darby materials

(either crude palm oil or palm fruit) of Malaysian origin.

           On February 10, 2021, plaintiff made entry of the imported merchandise undercover of San

Francisco Consumption Entry 808-2001373-0.

           On February 25, 2021, plaintiff and CBP entered into a “Temporary Storage Agreement”

designed to address custody of the merchandise while administrative and potential judicial

proceedings regarding the merchandise were conducted. A copy of this Agreement is appended as

Exhibit A to the Affirmation of Matt Swanson, submitted herewith. Under the terms of the

Agreement, the goods were to be stored in shore tanks and railcars at the Penny Newman Grain

Terminal facility in Stockton, California, at Virtus’ expense.2 Virtus was responsible for securing

the merchandise and ensuring CBP inspectors had access to it. Virtus agreed not to remove or




1
 Plaintiff had contracted for this merchandise, which was purchased from Mitsui, Ltd., who in turn purchased it from
Wilmar, the manufacturer, before the WRO on Sime Darby merchandise was issued.
2
    Ordinarily, detained merchandise would be stored at a CBP-owned or –contracted facility, at CBP’s expense.
                                                          2
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distribute the merchandise, and to submit a Single Entry Bond to Customs in an amount equal to

the value of the detained merchandise.

       In consideration of the promises undertaken in the Temporary Storage Agreement, CBP

issued a permit to unlade the detained merchandise. This relieved Virtus of the burden and expense

of additional days of vessel demurrage, and spared it damages which might have been incurred had

the merchandise not been unlade from the M/T ARGENT GERBERA.

       To date, both parties have performed their obligations under the Temporary Storage

Agreement. Paragraph 9 of the Agreement guarantees Virtus the right to export the merchandise in

the event it is not released as a result of the Withhold Release Order:

        9. If the shipments are excluded as a result of the Withhold Release Order, Virtus
        Nutrition LLC is responsible for re-export or destruction and will be liable for all
        associated costs, subject to Virtus’ right to file administrative protests.

Paragraph 10 of the Agreement anticipates exportation by rail to Canada or Mexico in the event

the goods are not admitted.

       Once the Temporary Storage Agreement was signed, Customs requested, and received from

plaintiff, extensive information concerning the manufacture of the merchandise in the subject entry,

including records concerning the growth and harvesting of palm fruit bunches, the extraction of oils

from that fruit, and the refining of the oils into the products contained in the subject entry.

In addition, plaintiff submitted an extensive Ultimate Consignee Statement, pursuant to 19 C.F.R.

§ 12.43, confirming the lack of Sime Darby Plantation Bhd. content, or any other forced labor

content, in its goods.

       On March 18, 2021, the Port Director of Customs at the Port of Oakland/San Francisco,

California issued to plaintiff a notice indicating that the subject cargo was being excluded from

entry into the United States pursuant to 19 U.S.C. § 1307. The notice provided no reasons for the

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action taken, only stating that the information submitted by plaintiff was not sufficient to persuade

Customs to revoke or modify the Withhold Release Order on palm oil and products containing

same produced by Sime Darby Plantation Bhd. 3 The notice did indicate that the goods, if not

exported within 60 days, could be subject to seizure and forfeiture and disposal by CBP

        On March 31, 2021, plaintiff protested the exclusion of the subject merchandise. On April

7, 2021, Customs transmitted notice of denial of the protest. Plaintiff then filed this action to contest

the denial of its protest.

        Customs’ Notice of Exclusion had indicated that if the goods were not exported within a

particular time, they were subject to seizure and forfeiture. As the Court will recall, counsel for the

parties cited the Temporary Storage Agreement and the Customs regulations as reasons why a

Preliminary Injunction to block seizure was not required in this case.

        The parties worked diligently to try this action on an expedited basis, exchanging discovery

materials and setting an ambitious litigation schedule. It was plaintiff’s intention to demonstrate,

by a preponderance of the evidence before this Court, that it was more likely than not that plaintiff’s

imported merchandise contained no Sime Darby content, and was not subject to the WRO. That

expectation was thwarted, however, when Wilmar, the producer, which had cooperated in

providing information during the protest phase of this lawsuit, declined to cooperate in the

litigation. The parties kept the Court apprised, on a regular basis, of the status of attempts to secure

this information, and, when it became clear the needed information was not forthcoming, kept the

Court apprised of plaintiff’s efforts to dispose of the merchandise by means of re-exportation.




3
 This, technically, was not the relief Virtus had sought. It merely sought a determination on admissibility of its goods,
not a modification of the Sime Darby WRO.
                                                           4
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        On January 28, 2022, while this suit was pending, CBP replaced the WRO against Sime

Darby Malaysian palm oil products with a Forced Labor Finding that such goods were likely to be

made with forced labor.4 This order authorizes CBP officials to seize and forfeit goods deemed to

be in violation of the Finding.

        As Virtus has advised the Court, the company’s intention has been to export the goods.

Actual exportation has been delayed pending physical modifications to the Penny Newman Grain

Terminal. While the Court exercised jurisdiction over the res of this action – the detained palm oil

products – CBP could not take action against them. Should the Court dismiss this action, plaintiff

is concerned that CBP officers may seize the goods rather than allow their exportation. While

plaintiff appreciates the patience and indulgence the Court has shown in this matter, plaintiff also

believes that it is appropriate for the Court, in fashioning an order of dismissal, to incorporate terms

which reflect the Temporary Storage Agreement into which plaintiff and CBP entered prior to the

initiation of this lawsuit.

        As reflected in the attached Affirmation of Matt Swanson, submitted herewith, Virtus is in

talks with Mitsui & Co. to take back the detained PFAD, and in talks with another buyer to purchase

the palm stearin, in both cases for exportation from the United States. The final step of the physical

alterations to the Penny Newman Grain Terminal – installation of a pump to allow unloading of

the storage tanks – is likely to be completed by mid-October. Plaintiff expects the merchandise to

be exported as soon as a vessel can be contracted to take the product kept in storage tanks.




4
 See Notice of Finding That Certain Palm Oil and Derivative Products Made Wholly or In Part With Palm Oil
Produced by the Malaysian Company Sime Darby Plantation Berhad Its Subsidiaries, and Joint Ventures, With the
Use of Convict, Forced or Indentured Labor Are Being, or Are Likely To Be Imported Into the United States in
Violation of 19 U.S.C. 1307, 87 Fed. Reg. 4635 (January 28, 2022),
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                                          ARGUMENT

       CPB regularly enters into contracts with importers and exporters, some of which require the

exportation of goods. Such contracts are subject to the usual rules of contracting, including

equitable defenses. United States v. Bolton, 514 F. Supp. 3d 158, 168 (D.D.C 2021). Exceptions

are made only when an agency is enforcing the rights of its citizens, see Bartko v. SEC, 845 F.3d

1217, 1227 (D.C. Cir 2017). This is not such a case.

       Courts will take action to enforce, and modify as necessary, agreements to which CBP is a

party. Thus, for example, in Rakower v. Aker, 1998 U.S. Dist. LEXIS 11800 (E.D.N.Y 1998), an

individual from whom imported watches had been seized entered into a “Hold Harmless

Agreement” with CBP, which required payment of a penalty and the exportation of the watches.

The watches were the subject of an ownership dispute between the party to the Hold Harmless

Agreement and another individual, who agreed to subject their disputes to arbitration by a

Rabbinical Court. The District Court enforced and modified the Hold Harmless Agreement, to

enforce the Rabbinical Court’s arbitration holding.

       In Pollak Import-Export Corp. v. United States, 14 C.I.T. 854 (1990), an importer whose

wearing apparel was detained, and ultimately exported, entered into a settlement and hold harmless

agreement with CBP, requiring the exportation of the goods. After the goods were exported, the

importer asked this court to set aside the Hold Harmless Agreement, and refund sums paid. This

court declined, holding that “the Agreement effectively disposes of all claims Pollak may have had

and thus presents the Court no claims for which relief can accorded.” Id. at 855; see also Alde S.A.

v. United States, 28 Fed. Cl. 26 (1993)(holding that acceptance of Hold Harmless Agreement

released CBP from liability for alleged damage to an aircraft when it was in Customs custody); see



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also Lyng Motors Inc. v. United States, 923 F. Supp. 356 (N.D.N.Y 1996) (upholding payment of

storage charges for seized property as condition of settlement of proceeding).

       In like manner, it is appropriate for the Court’s final judgment in this matter, even if one of

dismissal, to be conditioned upon a disposition of the detained goods consistent with the terms of

the Temporary Storage Agreement entered into by the parties to this action. That Agreement

preserved Virtus’ right to export the detained merchandise in the event that its challenge did not

succeed in having the goods released for consumption. That, unfortunately for Virtus, has been the

result of this action. Such an outcome expressly having been acknowledged in the Temporary

Storage Agreement, Virtus is entitled to the benefit of its bargain with CBP.

       Each party to the Temporary Storage Agreement received consideration for the bargain.

CBP’s decision to detain the goods while still on board the vessel blocked Virtus from unlading it.

The company incurred several days of vessel demurrage resulting from the delayed unlading, and

faced potentially disastrous fees if the vessel was unable to discharge its cargo and load the cargo

for its next voyage. CBP lacked a suitable facility to store the merchandise, and the Temporary

Storage Agreement saved CBP the bother and expense of locating and leasing one. The parties set

the stage for an orderly resolution of the dispute regarding admissibility of the subject merchandise,

with CBP allowing exportation if the goods were not admitted. There was a true meeting of the

minds on all relevant points of the Agreement.

       While plaintiff appreciates the Court’s indulgence and patience in this matter, it submits

that this Court is empowered, under Court Rule 41(a)(2), to order dismissal on conditions which

recognize and enforce the provisions of the Temporary Storage Agreement.

       Wherefore, plaintiff prays that the proposed Order of Dismissal, submitted herewith, be

entered.

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                                         Respectfully submitted,

                                         /s/ John M. Peterson
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